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 1   Counsel Listed on Signature Page
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 8
                               UNITED STATES DISTRICT COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10

11                                      SAN JOSE DIVISION

12

13   FEDERAL TRADE COMMISSION,                    Case No. 5:17-cv-00220-LHK
14                       Plaintiff,               QUALCOMM INCORPORATED’S
                                                  BRIEF IN SUPPORT OF NON-PARTY
15                vs.                             SAMSUNG’S REVISED
16   QUALCOMM INCORPORATED,                       ADMINISTRATIVE MOTION TO
     a Delaware corporation,                      MAINTAIN UNDER SEAL AS TO THE
17                                                AGREEMENTS THAT ARE THE
                         Defendant.               SUBJECT OF THIS COURT’S ORDER
18                                                ECF NO. 1123
19
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                                                        BRIEF ISO MOT. TO FILE UNDER SEAL
                                                              Case No. 5:17-cv-00220-LHK-NMC
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 1                                           INTRODUCTION
 2          Pursuant to Civil Local Rules 7-11 and 79-5(d), and this Court’s January 4, 2019 Order

 3   (ECF No. 1123), Defendant Qualcomm Incorporated (“Qualcomm”) hereby submits this Brief in

 4   Support of Non-Party Samsung’s Revised Administrative Motion to Maintain Under Seal as to

 5   the Agreements that are the Subject of this Court’s Order ECF No. 1123 (the “Samsung Motion”).

 6   On January 5, 2019, Samsung filed the Samsung Motion moving the Court to issue an

 7   administrative order to seal certain portions of the following trial exhibits to be presented on

 8   January 7, 2019: JX0006, JX0047, and JX0122 (the “Trial Exhibits”). The Trial Exhibits contain

 9   both Samsung and Qualcomm confidential information, which Qualcomm seeks to have sealed.

10   In accordance with the Court’s Local Rules, public, redacted version of the Trial Exhibits have

11   been filed. Qualcomm declarations are submitted as attachments to this Brief, in support of

12   sealing the Trial Exhibits.

13                                          LEGAL STANDARD
14          Local Rule 79-5 provides that documents, or portions thereof, may be sealed if a party

15   “establishes that the documents, or portions thereof, are privileged, protectable as a trade secret,

16   or otherwise entitled to protection under the law.” Civ. L. R. 79-5(b). Where a party seeks to file

17   under seal documents designated as confidential by an opposing party or non-party pursuant to a

18   protective order, the submitting party “must identify the document or portions thereof which

19   contain the designated confidential material and identify the party that has designated the material

20   as confidential.” Civ. L. R. 79-5(e). The burden then falls to the party that has previously

21   designated the material as confidential to establish that the designated material is sealable. Id.

22          While courts apply a “strong presumption in favor of access” to court records, “[i]n

23   general, ‘compelling reasons’ sufficient to outweigh the public’s interest in disclosure and justify

24   sealing court records exist when such ‘court files might have become a vehicle for improper

25   purposes,’ such as the use of records to ... release trade secrets.” Kamakana v. City and Cty. Of

26   Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner Commc’ns, Inc., 435

27   U.S. 589, 598 (1978)). Sealing may be justified to prevent judicial documents from being used as

28
                                                       1           BRIEF ISO MOT. TO FILE UNDER SEAL
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 1   business information that might harm a litigant’s competitive standing. In re High-Tech

 2   Employee Antitrust Litig., 2013 WL 163779, at *1.

 3
                                                 ARGUMENT
 4
            A.      The Trial Exhibits Contain Both Qualcomm and Samsung Confidential
 5                  Information
 6          The redacted portions of the Trial Exhibits meet the standard for sealing under the

 7   “compelling reasons” standard or the “good cause” standard. The Trial Exhibits contain

 8   information regarding Qualcomm and Samsung that is designated as confidential under the

 9   governing Protective Orders and Supplemental Protective Orders in In re: Qualcomm Antitrust

10   Litigation, No. 17-md-02773-LHK-NMC (N.D. Cal.) (“MDL Action”); Federal Trade

11   Commission v. Qualcomm Incorporated, No. 17-cv-00220-LHK-NMC (N.D. Cal.) (“FTC

12   Action”); and Apple, Inc. v. Qualcomm Incorporated, No. 17-cv-0108-GPC-MDD (“S.D. Cal.

13   Action”) (together, “Protective Orders”).

14          Specifically, the Trial Exhibits contain and reference the following information designated

15   by Qualcomm and by Samsung as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” under

16   the Protective Orders.

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                                                     2           BRIEF ISO MOT. TO FILE UNDER SEAL
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                                Trial Exhibit JX0006
 1     Location of Information Type of             Relevant            Supporting
                               Information         Standard            Paragraph
 2                                                                     from
                                                                       Declaration
 3     §3.1, Lines 3-4, between     Royalty rates and   Compelling     St. George
       “amount of” and “(the        Pricing terms       Reasons        Decl. ¶¶16-
 4     ‘Up-Front” at JX0006-                                           17
       009
 5     §3.1, Lines 4-5, between     Royalty rates and   Compelling     St. George
       “License Fee’)” and “of      Pricing terms       Reasons        Decl. ¶¶16-
 6     the up-front” at JX0006-                                        17
       009
 7     §3.1, Lines 8-9, between     Royalty rates and   Compelling     St. George
       “the remaining” and “of      Pricing terms       Reasons        Decl. ¶¶16-
 8     the Up-Front License” at                                        17
       JX0006-009
 9     §3.1, Lines 11-12,           Royalty rates and   Compelling     St. George
       between “follows: (i)”       Pricing terms       Reasons        Decl. ¶¶16-
10     and “within thirty (30)”                                        17
       at JX0006-009
11     §3.1, Lines 12-13,           Royalty rates and   Compelling     St. George
       between “Date; (ii)” and     Pricing terms       Reasons        Decl. ¶¶16-
12     “on or before December”                                         17
       at JX0006-009
13     §3.1, Line 14 before “on     Royalty rates and   Compelling     St. George
       or before March” at          Pricing terms       Reasons        Decl. ¶¶16-
14     JX0006-009                                                      17
       §3.1, Line 15, between       Royalty rates and   Compelling     St. George
15     “1994; (iv)” and “on or      Pricing terms       Reasons        Decl. ¶¶16-
       before” at JX0006-009                                           17
16     §3.1, Line 16 after “and     Royalty rates and   Compelling     St. George
       (v)” at JX0006-009           Pricing terms       Reasons        Decl. ¶¶16-
17                                                                     17
       §5.2.1, Lines 5-6,           Royalty rates       Compelling     St. George
18     between “to (i)” and “of                         Reasons        Decl. ¶17
       the Net Selling” at
19     JX0006-012
20     §5.2.1, Line 7, between      Royalty rates       Compelling     St. George
       “and (ii)” and “of the” at                       Reasons        Decl. ¶17
21     JX0006-012
       First paragraph after        Royalty rates       Compelling     St. George
22     §5.2.1, Line 5, between                          Reasons        Decl. ¶17
       “greater than” and “for”
23     at JX0006-012
       First paragraph after        Royalty rates       Compelling     St. George
24     §5.2.1, Lines 6-7,                               Reasons        Decl. ¶17
       between “pay only the”
25     and “for each such” at
       JX0006-012
26     First paragraph after        Royalty rates       Compelling     St. George
       §5.2.1, Lines 7-12 after                         Reasons        Decl. ¶17
27     “Subscriber Unit Sold.”
       at JX0006-012
28

                                                    3       BRIEF ISO MOT. TO FILE UNDER SEAL
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       §5.2.2, Lines 4-5,           Royalty rates       Compelling     St. George
 1     between “equal to (i)”                           Reasons        Decl. ¶17
       and “of the Net Selling”
 2     at JX0006-012
       §5.2.2, Line 6 after         Royalty rates       Compelling     St. George
 3     “Korea and (ii)” until “of                       Reasons        Decl. ¶17
       the Net Selling Price” at
 4     JX0006-012-013
       First paragraph, Lines 2-    Royalty rates       Compelling     St. George
 5     7 after “only in Korea.”                         Reasons        Decl. ¶17
       at JX0006-013
 6     §5.2.3, Line 5, between      Royalty rates       Compelling     St. George
       “equal to (a)” and “of the                       Reasons        Decl. ¶17
 7     Net Selling” at JX0006-
       013
 8     §5.2.3, Line 8, between      Royalty rates       Compelling     St. George
       “(b) (i)” and “of the Net                        Reasons        Decl. ¶17
 9     Selling” at JX0006-013
       §5.2.3, Lines 10-11,         Royalty rates       Compelling     St. George
10     between “Korea and (ii)”                         Reasons        Decl. ¶17
       and “of the Net Selling”
11     at JX0006-013
       §5.2.3, Lines 13-19, after   Royalty rates       Compelling     St. George
12     “only in Korea.” at                              Reasons        Decl. ¶17
       JX0006-013
13     Last paragraph after “that   Royalty rates       Compelling     St. George
       decreased from” until                            Reasons        Decl. ¶17
14     “based on the number of”
       at JX0006-014-015
15     §6.2.1, Line 3, between      Royalty rates       Compelling     St. George
       “above shall be” and                             Reasons        Decl. ¶17
16     “with respect only” at
       JX0006-016
17     First paragraph, Lines 6-    Royalty rates       Compelling     St. George
       9 after “exceed the lower                        Reasons        Decl. ¶17
18     of” at JX0006-017
       §7.1, Lines 8-9, between     Pricing terms       Compelling     St. George
19     “QUALCOMM an                                     Reasons        Decl. ¶16
       additional” and “for such
20     deliverables” at JX0006-
       017
21
       §7.1, Lines 12-13,           Pricing terms       Compelling     St. George
22     between “pay                                     Reasons        Decl. ¶16
       QUALCOMM” and “of
23     the Deliverable
       Payment”” at JX0006-
24     017
       §7.1, Line 14, between       Pricing terms       Compelling     St. George
25     “1993, then such” and                            Reasons        Decl. ¶16
       “payment” at JX0006-
26     017
       First paragraph at           Royalty rate        Compelling     St. George
27     JX0006-029, Line 3 after                         Reasons        Decl. ¶17
       “to the Carriers a”
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                                                    4       BRIEF ISO MOT. TO FILE UNDER SEAL
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       §1, Line 3 before “of the   Royalty rate        Compelling     St. George
 1     Net Selling Price” at                           Reasons        Decl. ¶17
       JX0006-036
 2     §1, Line 4, between “and    Royalty rate        Compelling     St. George
       (ii)” and “of the Net                           Reasons        Decl. ¶17
 3     Selling Price” at JX0006-
       036
 4     All percentages and         Royalty rate        Compelling     St. George
       numerical values                                Reasons        Decl. ¶17
 5     immediately following
       the third paragraph at
 6     JX0006-036
       Fourth paragraph, Line 5,   Royalty rate        Compelling     St. George
 7     between “that is greater                        Reasons        Decl. ¶17
       than” and “for each
 8     Subscriber” at JX0006-
       036
 9     Fourth paragraph, Line 6,   Royalty rate        Compelling     St. George
       between “shall pay only                         Reasons        Decl. ¶17
10     the” and “for each” at
       JX0006-036
11     Fourth Paragraph, Lines     Royalty rate        Compelling     St. George
       7-9, after “Subscriber                          Reasons        Decl. ¶17
12     Unit Sold.” until “To
       elect such option” at
13     JX0006-036-037
       Fourth paragraph, Line 3,   Pricing Terms       Compelling     St. George
14     between                                         Reasons        Decl. ¶16
       “QUALCOMM” and “of
15     the” at JX0006-037
       Fourth Paragraph, Lines     Pricing Terms       Compelling     St. George
16     6-8, between “includes                          Reasons        Decl. ¶16
       the reduction of” and
17     “QUALCOMM confirms
       that the” at JX0006-037
18     Fourth Paragraph, Lines     Pricing Terms       Compelling     St. George
       9-10, between “to as low                        Reasons        Decl. ¶16
19     as” and “as set forth
       above” at JX0006-037
20     Fourth Paragraph, Line      Pricing Terms       Compelling     St. George
       11, between “remaining”                         Reasons        Decl. ¶16
21     and “of the Up-” at
       JX0006-037
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                                                   5       BRIEF ISO MOT. TO FILE UNDER SEAL
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                                Trial Exhibit JX0047
 1     Location of Information Type of             Relevant          Supporting
                               Information         Standard          Paragraph
 2                                                                   from
                                                                     Declaration
 3     First paragraph at         Pricing terms and   Compelling     St. George
       JX0047-002                 Royalty rates       Reasons        Decl. ¶¶18-
 4                                                                   19
       Paragraph starting         Pricing terms and   Compelling     St. George
 5     “Catastrophic Event”,      Royalty rates       Reasons        Decl. ¶¶18-
       Line 10, between “at                                          19
 6     least” and “of” at
       JX0047-002
 7     Paragraph starting         Pricing terms and   Compelling     St. George
       “Catastrophic Event”,      Royalty rates       Reasons        Decl. ¶¶18-
 8     Line 12, between “from                                        19
       a” and “Worldwide
 9     Subscriber Unit” at
       JX0047-002
10     Paragraph starting         Pricing terms and   Compelling     St. George
       “Catastrophic Event”,      Royalty rates       Reasons        Decl. ¶¶18-
11     Line 12, between “Share                                       19
       to a” and “or lower” at
12     JX0047-002
       Paragraph starting         Pricing terms and   Compelling     St. George
13     “Catastrophic Event”,      Royalty rates       Reasons        Decl. ¶¶18-
       Line 16, between “result                                      19
14     in a” and “(e.g.,” at
       JX0047-002
15     Paragraph starting         Pricing terms and   Compelling     St. George
       “Catastrophic Event”,      Royalty rates       Reasons        Decl. ¶¶18-
16     Line 16, between “(e.g.,                                      19
       from” and “or lower” at
17     JX0047-002
       Paragraph starting         Pricing terms and   Compelling     St. George
18     “Catastrophic Event        Royalty rates       Reasons        Decl. ¶¶18-
       Inception Date”, Line 3,                                      19
19     between “decreases to”
       and “of LICENSEE’s” at
20     JX0047-002
       Paragraph starting         Pricing terms and   Compelling     St. George
21     “Solely for purposes of    royalty rates       Reasons        Decl. ¶¶18-
       Sections 3, 5 and 7”                                          19
22     Lines 1-6 after
       “‘Components’ means”
23     at JX0047-003
       Fourth paragraph at        Pricing terms       Compelling     St. George
24     JX0047-005                                     Reasons        Decl. ¶18
25     Second paragraph at        Pricing terms       Compelling     St. George
       JX0047-006                                     Reasons        Decl. ¶18
26     Fifth paragraph through    Pricing terms       Compelling     St. George
       First paragraph at                             Reasons        Decl. ¶18
27     JX0047-006-007

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                                                  6       BRIEF ISO MOT. TO FILE UNDER SEAL
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       Third paragraph until       Pricing terms       Compelling     St. George
 1     “‘Litigate’ means to” at                        Reasons        Decl. ¶18
       JX0047-007-009
 2     Fourth paragraph from       Royalty rates       Compelling     St. George
       the top at JX0047-010                           Reasons        Decl. ¶19
 3     after “‘Minimum Rate’
       means”
 4     Last paragraph until        Pricing terms       Compelling     St. George
       “‘Near Field Magnetic                           Reasons        Decl. ¶18
 5     Resonance Wireless
       Charging’” at JX0047-
 6     010 -011
       Third paragraph at          Royalty rates       Compelling     St. George
 7     JX0047-013, Lines 6-9                           Reasons        Decl. ¶19
       after “or this
 8     Amendment”
       Last paragraph until “The   Pricing terms and   Compelling     St. George
 9     definition of ‘Reportable   Royalty rates       Reasons        Decl. ¶¶18-
       Infrastructure Products’”                                      19
10     at JX0047-013-014
       Last paragraph at           Pricing terms       Compelling     St. George
11     JX0047-014                                      Reasons        Decl. ¶18
       Last paragraph until        Pricing terms and   Compelling     St. George
12     “‘Worldwide Subscriber      Royalty rates       Reasons        Decl. ¶¶18-
       Unit Revenue’” at                                              19
13     JX0047-015-016
       §2, Line 4 before “(the     Pricing terms       Compelling     St. George
14     ‘Lump Sum Fee’)” at                             Reasons        Decl. ¶18
       JX0047-016
15     §2(a), Lines 1-2, between   Pricing terms       Compelling     St. George
       “amount of” and “shall                          Reasons        Decl. ¶18
16     be” at JX0047-016
       §2(b), Lines 1-2, between   Pricing terms       Compelling     St. George
17     “amount of” and “shall                          Reasons        Decl. ¶18
       be” at JX0047-016
18     §2(c), Line 1 after         Pricing terms       Compelling     St. George
       “payment of” and “shall                         Reasons        Decl. ¶18
19     be” at JX0047-016
20     §4.1.1, Lines 9-12,         Royalty rates       Compelling     St. George
       between “amount” and                            Reasons        Decl. ¶19
21     “Such royalties” at
       JX0047-019
22     §4.1.1.1, Lines 3-6 after   Royalty rates       Compelling     St. George
       “(the ‘Quarterly                                Reasons        Decl. ¶19
23     Payment’)” through First
       paragraph, Lines 1-3 at
24     JX0047-019-25
       §4.1.3, Line 5, between     Royalty rates and   Compelling     St. George
25     “exceed” and “and (b)” at   Pricing terms       Reasons        Decl. ¶¶18-
       JX0047-025                                                     19
26     §4.1.3, Line 7 after “no    Royalty rates and   Compelling     St. George
       event exceed” at JX0047-    Pricing terms       Reasons        Decl. ¶¶18-
27     025                                                            19

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                                                   7       BRIEF ISO MOT. TO FILE UNDER SEAL
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       Third paragraph at           Royalty rates and   Compelling     St. George
 1     JX0047-026, Lines 1-2,       Pricing terms       Reasons        Decl. ¶¶18-
       between “at least” and                                          19
 2     “of the applicable”
       Third paragraph at           Royalty rates and   Compelling     St. George
 3     JX0047-026, Line 3,          Pricing terms       Reasons        Decl. ¶¶18-
       between “equal to” and                                          19
 4     “of the total number”
       All percentages and          Royalty rates       Compelling     St. George
 5     numerical values in                              Reasons        Decl. ¶19
       §4.2.3 at JX0047-027
 6     §4.4.1, Lines 11-12,         Royalty rates       Compelling     St. George
       between “less than” and                          Reasons        Decl. ¶19
 7     “(a ‘Lower Lump” at
       JX0047-028
 8     §4.4.1(i) until 4.4.2 at     Royalty rates       Compelling     St. George
       JX0047-028-029                                   Reasons        Decl. ¶19
 9     §4.4.2, Line 11 after        Royalty rates       Compelling     St. George
       “represent more than” at                         Reasons        Decl. ¶19
10     JX0047-0029
       All text after first         Royalty rates and   Compelling     St. George
11     paragraph until §4.5 at      Pricing terms       Reasons        Decl. ¶¶18-
       JX0047-030-036                                                  19
12     §5.3.3 at JX0047-038-        Pricing terms       Compelling     St. George
       039                                              Reasons        Decl. ¶18
13     §5.4.2(i) through (iii) at   Pricing terms       Compelling     St. George
       JX0047-041                                       Reasons        Decl. ¶18
14     §5.7 at JX0047-048-049       Pricing terms       Compelling     St. George
                                                        Reasons        Decl. ¶18
15     Second paragraph at          Royalty rates and   Compelling     St. George
       JX0047-049                   Pricing terms       Reasons        Decl. ¶¶18-
16                                                                     19
17     §5.8, Line 10, between       Royalty rates       Compelling     St. George
       “Affiliates grant” and                           Reasons        Decl. ¶19
18     “licenses under their” at
       JX0047-049
19     §6.1, Line 3 after           Royalty rates       Compelling     St. George
       “QUALCOMM (i) the”                               Reasons        Decl. ¶19
20     at JX0047-049
       §6.1, Line 4, between        Royalty rates       Compelling     St. George
21     “(ii)” and “of the Patent                        Reasons        Decl. ¶19
       Families” at JX0047-049
22     §6.1, Line 5, between        Royalty rates       Compelling     St. George
       “list of” and “Patent                            Reasons        Decl. ¶19
23     Families” at JX0047-049
       §6.1, Line 7, between        Royalty rates       Compelling     St. George
24     “(iii)” and “Patent                              Reasons        Decl. ¶19
       Family” at JX0047-049
25     §6.1, Line 7, between        Royalty rates       Compelling     St. George
       “list of” and “Patent                            Reasons        Decl. ¶19
26     Families” at JX0047-049
       §6.1, Line 10 before         Royalty rates       Compelling     St. George
27     “Patent Families are                             Reasons        Decl. ¶19
       collectively” at JX0047-
28     049

                                                    8       BRIEF ISO MOT. TO FILE UNDER SEAL
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        §7.1 until §8 at JX0047-    Pricing terms       Compelling     St. George
 1      052-054                                         Reasons        Decl. ¶18
        §12, Lines 2-3, between     Pricing terms       Compelling     St. George
 2      “expire on” and “unless                         Reasons        Decl. ¶18
        the” at JX0047-056
 3      §12, Lines 4-14, after      Pricing terms       Compelling     St. George
        “Section 15 thereof.”                           Reasons        Decl. ¶18
 4      until § 13 at JX0047-056-
        057
 5      Exhibit E-1 at JX0047-      Pricing terms       Compelling     St. George
        061 after “Designed                             Reasons        Decl. ¶18
 6      Patents” before “(Section
        6.1)”
 7      All text after “Current     Pricing terms       Compelling     St. George
        Patent Pools (General)”                         Reasons        Decl. ¶18
 8      at JX0047-062
        All text after “Current     Pricing terms       Compelling     St. George
 9      Patent Pools (Multimedia                        Reasons        Decl. ¶18
        Codec)” at JX0047-063
10      All text after “Pending     Pricing terms       Compelling     St. George
        Patent (General)” at                            Reasons        Decl. ¶18
11      JX0047-064
        All text after “Pending     Pricing terms       Compelling     St. George
12      Patent Pools (Multimedia                        Reasons        Decl. ¶18
        Codec)” at JX0047-065
13      All text below “Exhibit     Royalty rates       Compelling     St. George
        C” at JX0047-067-068                            Reasons        Decl. ¶19
14      All text at JX0047-071-     Pricing terms       Compelling     St. George
        085                                             Reasons        Decl. ¶18
15

16
                              Table 1: Proposed Redactions In JX0122
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                                                    9       BRIEF ISO MOT. TO FILE UNDER SEAL
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                                 Trial Exhibit JX0122
 1      Location of Information Type of             Relevant              Supporting
                                Information         Standard              Paragraph
 2                                                                        from
                                                                          Declaration
 3      All text after “Designated   Pricing Terms         Compelling     St. George
        Third Party” at JX0122-                            Reasons        Decl. ¶20
 4      004
        All text after               Pricing terms,        Compelling     St. George
 5      “LICENSEE Other              royalty rates         Reasons        Decl. ¶¶20-
        Patent” at JX0122-006                                             21
 6      All text after               Pricing terms,        Compelling     St. George
        “LICENSEE’s                  royalty rates         Reasons        Decl. ¶¶20-
 7      Semiconductor Patents”                                            21
        (including all text in
 8      subparts (i) and (ii)) at
        JX0122-006
 9      All text after “Other        Pricing terms,        Compelling     St. George
        Components” at JX0122-       royalty rates         Reasons        Decl. ¶¶20-
10      007                                                               21
        §2.1, Lines 3-4 between      Pricing terms         Compelling     St. George
11      “equal to” and “for each                           Reasons        Decl. ¶20
        calendar” at JX0122-008
12      §2.2, Line 5 between         Pricing terms         Compelling     St. George
        “2018 Amendment)” and                              Reasons        Decl. ¶20
13      “for any such period” at
        JX0122-008
14      §4.1.3, Lines 5-6            Royalty rates         Compelling     St. George
        between “no event                                  Reasons        Decl. ¶21
15      exceed” and “and (b)
        the” at JX0122-010
16      §4.1.3, Lines 8-9 after      Royalty rates and     Compelling     St. George
        “no event exceed”            Pricing terms         Reasons        Decl. ¶¶20-
17      through six lines of text                                         21
        before §5 at JX0122-010-
18      014
        §5.3.7 at JX0122-019-        Pricing terms         Compelling     St. George
19      021                                                Reasons        Decl. ¶20
20      §5.5 and following           Pricing terms         Compelling     St. George
        paragraph at JX0122-                               Reasons        Decl. ¶20
21      024-025
        §6.2 text after “License     Pricing terms         Compelling     St. George
22      and Release” at JX0122-                            Reasons        Decl. ¶20
        027-028
23      §7 at JX0122-028-29          Royalty rates         Compelling     St. George
                                                           Reasons        Decl. ¶21
24      §17.2 text after             Pricing terms and     Compelling     St. George
        “Permitted Assignment        royalty rates         Reasons        Decl. ¶¶20-
25      by Qualcomm” at                                                   21
        JX0122-031-032
26      17.3 text after “Permitted   Pricing terms and     Compelling     St. George
        Assignment by                royalty rates         Reasons        Decl. ¶¶20-
27      LICENSEE” at JX0122-                                              21
        032-33
28

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        Third paragraph, Line 2,    Not a Patent           Compelling     Arner Decl.
 1      between “(a) no less        License Agreement      Reasons        ¶15
        than” and “of Core          (“PLA”); 2018
 2      Chipset” at JX0122-036      confidential pricing
                                    information
 3
        Third paragraph, Line 3,    Not a PLA; 2018        Compelling     Arner Decl.
 4      between “less than” and     confidential pricing   Reasons        ¶15
        “of Core Chipset” at        information
 5      JX0122-036
        §2(a), Line 2, between      Not a PLA; 2018        Compelling     Arner Decl.
 6      “equal to” and “for such”   confidential pricing   Reasons        ¶15
        at JX0122-037               information
 7
        First paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
 8      §2(b), Lines 1-2, between   confidential pricing   reasons        ¶15
        “greater of” and “(the      information
 9      ‘First Quarter Rebate’)”
        at JX0122-037
10      Second paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
        §2(b), Line 1, between      confidential pricing   Reasons        ¶15
11      “(a)” and “for the          information
        second” at JX0122-037
12      Second paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
        §2(b), Line 3, between      confidential pricing   Reasons        ¶15
13      “equals less than” and      information
        “then” at JX0122-037
14      Second paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
        §2(b), Line 4, between      confidential pricing   Reasons        ¶15
15      “Rebate and” and “(the      information
        ‘Second” at JX0122-037
16      Third paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
        §2(b), Line 1, between      confidential pricing   Reasons        ¶15
17      “year, (a)” and “for the    information
        third” at JX0122-037
18      Third paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
        §2(b), Line 4, between      confidential pricing   Reasons        ¶15
19      “equals less than” and      information
        “then QCTAP” at
20      JX0122-037
        Third paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
21      §2(b), Line 5, between      confidential pricing   Reasons        ¶15
        “Rebate and” and “U.S.      information
22      Dollars” at JX0122-037
        Fourth paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
23      §2(b), Line 1, between      confidential pricing   Reasons        ¶15
        “year, (a)” and “for the    information
24      fourth” at JX0122-037
25      Fourth paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
        §2(b), Line 4 after         confidential pricing   Reasons        ¶15
26      “equals less than” at       information
        JX0122-037
27

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        Fourth paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
 1      §2(b), Line 7 after         confidential pricing   Reasons        ¶15
        “Rebate and” at JX0122-     information
 2      037
        First paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
 3      §2(c), Line 1, between      confidential pricing   Reasons        ¶15
        “greater of” and “for       information
 4      such” at JX0122-037
        First paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
 5      §2(c), Line 2, between      confidential pricing   Reasons        ¶15
        “Devices or and “(the       information
 6      ‘First” at JX0122-037
        Second paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
 7      §2(c), Line 1, between      confidential pricing   Reasons        ¶15
        “(a)” and “of the Net” at   information
 8      JX0122-037
        Second paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
 9      §2(c), Line 3 after         confidential pricing   Reasons        ¶15
        “equals less than” at       information
10      JX0122-037
        Second paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
11      §2(c), Line 5, between      confidential pricing   Reasons        ¶15
        “Rebate and” and “(the      information
12      ‘Second” at JX0122-037
        Third paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
13      §2(c), Line 1, between      confidential pricing   Reasons        ¶15
        “(a)” and “for the third”   information
14      at JX0122-037
        Third paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
15      §2(c), Line 4, between      confidential pricing   Reasons        ¶15
        “less than” and “then       information
16      QCTAP” at JX0122-037
        Third paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
17      §2(c), Line 6, between      confidential pricing   Reasons        ¶15
        “Rebate and” and “(the      information
18      ‘Third” at JX0122-037
        First paragraph at          Not a PLA; 2018        Compelling     Arner Decl.
19      JX0122-038, Line 1,         confidential pricing   Reasons        ¶15
        between “(a)” and “for      information
20      the fourth”
        First paragraph at          Not a PLA; 2018        Compelling     Arner Decl.
21      JX0122-038, Line 5,         confidential pricing   Reasons        ¶15
        between “less than” and     information
22      “then QCTAP”
23      First paragraph at          Not a PLA; 2018        Compelling     Arner Decl.
        JX0122-038, Line 8          confidential pricing   Reasons        ¶15
24                                  information

25      Second paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
        §2(d), Line 1, between      confidential pricing   Reasons        ¶15
26      “greater of” and “for       information
        such” at JX0122-038
27

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        Second paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
 1      §2(d), Line 2, between      confidential pricing   Reasons        ¶15
        “technology or” and         information
 2      “(the ‘First” at JX0122-
        038
 3      Third paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
        §2(d), Line 1, between      confidential pricing   Reasons        ¶15
 4      “(a)” and “for the          information
        second” at JX0122-038
 5      Third paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
        §2(d), Line 3 after         confidential pricing   Reasons        ¶15
 6      “equals less than” at       information
        JX0122-038
 7      Third paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
        §2(d), Line 5, between      confidential pricing   Reasons        ¶15
 8      “Rebate and” and “(the      information
        ‘Second” at JX0122-038
 9      Fourth paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
        §2(d), Line 1, between      confidential pricing   Reasons        ¶15
10      “(a)” and “for the third”   information
        at JX0122-038
11      Fourth paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
        §2(d), Line 4, between      confidential pricing   Reasons        ¶15
12      “equals less than” and      information
        “then QCTAP” at
13      JX0122-038
        Fourth paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
14      §2(d), Line 6-7, between    confidential pricing   Reasons        ¶15
        “Rebate and” and “(the      information
15      ‘Third” at JX0122-038
        §2(e), Line 2, between      Not a PLA; 2018        Compelling     Arner Decl.
16      “amount equal to” and       confidential pricing   Reasons        ¶15
        “for Connectivity” at       information
17      JX0122-038
        First paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
18      §2(g), Line 1, between      confidential pricing   Reasons        ¶15
        “greater of” and “for       information
19      High/Mid/Low” at
        JX0122-038
20      First paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
        §2(g), Line 2, between      confidential pricing   Reasons        ¶15
21      “quarter or” and “(the      information
        ‘First” at JX0122-038
22      First paragraph at          Not a PLA; 2018        Compelling     Arner Decl.
        JX0122-039, Line 1,         confidential pricing   Reasons        ¶15
23      between “(a)” and “for      information
        High/Mid/Low”
24
        First paragraph at          Not a PLA; 2018        Compelling     Arner Decl.
25      JX0122-039, Line 3,         confidential pricing   Reasons        ¶15
        between “less than” and     information
26      “then QCTAP”
        First paragraph at          Not a PLA; 2018        Compelling     Arner Decl.
27      JX0122-039, Line 4,         confidential pricing   Reasons        ¶15
        between “Rebate and”        information
28      and “(the ‘Second”

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        Second paragraph at         Not a PLA; 2018        Compelling     Arner Decl.
 1      JX0122-039, Line 1,         confidential pricing   Reasons        ¶15
        between “(a)” and “for      information
 2      High/Mid/Low”
        Second paragraph at         Not a PLA; 2018        Compelling     Arner Decl.
 3      JX0122-039, Lines 3-4,      confidential pricing   Reasons        ¶15
        between “less than” and     information
 4      “then QCTAP”
        Second paragraph at         Not a PLA; 2018        Compelling     Arner Decl.
 5      JX0122-039, Line 6          confidential pricing   Reasons        ¶15
        before “(the ‘Third”        information
 6
        Third paragraph at          Not a PLA; 2018        Compelling     Arner Decl.
 7      JX0122-039, Line 1,         confidential pricing   Reasons        ¶15
        between “(a)” and “for      information
 8      High/Mid/Low”
        Third paragraph at          Not a PLA; 2018        Compelling     Arner Decl.
 9      JX0122-039, Line 4,         confidential pricing   Reasons        ¶15
        between “less than” and     information
10      “then QCTAP”
        Third paragraph at          Not a PLA; 2018        Compelling     Arner Decl.
11      JX0122-039, Line 7 after    confidential pricing   Reasons        ¶15
        “Rebate and”                information
12
        First paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
13      §2(h), Line 1, between      confidential pricing   Reasons        ¶15
        “greater of” and “for       information
14      such” at JX0122-039
        First paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
15      §2(h), Line 2, between      confidential pricing   Reasons        ¶15
        “Devices or” and “(the      information
16      ‘First” at JX0122-039
        Second paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
17      §2(h), Line 1, between      confidential pricing   Reasons        ¶15
        “(a)” and “for the          information
18      second” at JX0122-039
        Second paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
19      §2(h), Line 3, between      confidential pricing   Reasons        ¶15
        “less than” and “then       information
20      QCTAP” at JX0122-039
        Second paragraph after      Not a PLA; 2018        Compelling     Arner Decl.
21      §2(h), Line 5, between      confidential pricing   Reasons        ¶15
        “and” and “(the ‘Second”    information
22      at JX0122-039
23      Third paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
        §2(h), Line 1, between      confidential pricing   Reasons        ¶15
24      “(a)” and “for the third”   information
        at JX0122-039
25      Third paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
        §2(h), Line 4, between      confidential pricing   Reasons        ¶15
26      “less than” and “then       information
        QCTAP” at JX0122-039
27

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        Third paragraph after        Not a PLA; 2018        Compelling     Arner Decl.
 1      §2(h), Line 6, between       confidential pricing   Reasons        ¶15
        “Rebate and” and “(the       information
 2      ‘Third” at JX0122-039
        Fourth paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
 3      §2(h), Line 1, between       confidential pricing   Reasons        ¶15
        “(a)” and “for the fourth”   information
 4      at JX0122-039
        Fourth paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
 5      §2(h), Lines 4-5, between    confidential pricing   Reasons        ¶15
        “less than” and “then        information
 6      QCTAP” at JX0122-039
        Fourth paragraph after       Not a PLA; 2018        Compelling     Arner Decl.
 7      §2(h), Line 7 after          confidential pricing   Reasons        ¶15
        “Rebate and” at JX0122-      information
 8      039
        §2(i), Lines 1-2, between    Not a PLA; 2018        Compelling     Arner Decl.
 9      “SAMSUNG (i)” and            confidential pricing   Reasons        ¶15
        “by June 30, 2018” at        information
10      JX0122-039
        §2(i), Line 5, between       Not a PLA; 2018        Compelling     Arner Decl.
11      “(ii)” and “(the ‘Galaxy”    confidential pricing   Reasons        ¶15
        at JX0122-039                information
12      §1.1 at JX0122-050-052       Not a PLA; 2018        Compelling     St. George
                                     confidential           Reasons        Decl. ¶22
13                                   business
                                     information
14
        §1.3(i) – (iv) at JX0122-    Not a PLA; 2018        Compelling     St. George
15      053                          confidential           Reasons        Decl. ¶22
                                     business
16                                   information
        §2.1, Lines 3-4, between     Not a PLA; 2018        Compelling     St. George
17      “Samsung” and “the           confidential           Reasons        Decl. ¶23
        (‘Settlement” at JX0122-     payment
18      054                          information
19      §2.1(1), Line 1 before       Not a PLA; 2018        Compelling     St. George
        “no later than” at           confidential           Reasons        Decl. ¶23
20      JX0122-054                   payment
                                     information
21
        §2.1(2), Line 1 before       Not a PLA; 2018        Compelling     St. George
22      “no later than” at           confidential           Reasons        Decl. ¶23
        JX0122-054                   payment
23                                   information
24
        §3.1 through §3.9 at         Not a PLA; 2018        Compelling     St. George
25      JX0122-055-058               confidential           Reasons        Decl. ¶22
                                     business
26                                   information
        Exhibit A, text after        Not a PLA; 2018        Compelling     St. George
27      “Wire Transfer               confidential           Reasons        Decl. ¶23
        Information” at JX0122-      payment
28      063                          information

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         §3.1 at JX0122-064-065       Not a PLA; 2018        Compelling       St. George
 1                                    confidential           Reasons          Decl. ¶24
                                      payment
 2                                    information
         §5.1.2 at JX0122-068-        Not a PLA; 2018        Compelling       St. George
 3       069                          confidential           Reasons          Decl. ¶25
                                      business
 4                                    information
         §2.1, Lines 3-5, between     Not a PLA; 2018        Compelling       St. George
 5       “sum of” and “in             confidential           Reasons          Decl. ¶26
         accordance” at JX0122-       payment
 6       081                          information
 7       §2.2, Line 3 before          Not a PLA; 2018        Compelling       St. George
         “Subscriber Units” at        confidential           Reasons          Decl. ¶26-27
 8       JX0122-081                   payment and
                                      pricing information
 9
         §2.4, Line 3 after           Not a PLA; 2018        Compelling       St. George
10       “Handsets that is” until     confidential           Reasons          Decl. ¶27
         “(the ‘New Max NSP           payment and
11       Cap’)” at JX0122-081-        pricing information
         082
12       §4.3.2 after “Permitted      Not a PLA; 2018        Compelling       St. George
         Assignment by                confidential           Reasons          Decl. ¶28
13       SAMSUNG” at JX0122-          business
         085-086                      information
14       All text after               Not a PLA; 2018        Compelling       St. George
         “Collaboration               confidential           Reasons          Decl. ¶26
15       Activities” at JX0122-       technical and
         095-099                      payment
16                                    information
17

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19          The information above describes confidential contractual terms between Qualcomm and
20   Samsung. The Ninth Circuit has confirmed that these categories of information should properly
21   be sealed in nearly identical circumstances. See, e.g., In re Elec. Arts, Inc., 298 Fed. App’x 568,
22   569–70 (9th Cir. 2008) (ordering sealed “pricing terms, royalty rates, and guaranteed minimum
23   payment terms” in a licensing agreement); Sun Microsystems Inc. v. Network Appliance, No. C–
24   08–01641–EDL, 2009 WL 5125817, at *9 (N.D. Cal Dec. 21, 2009) (sealing confidential
25   business information, which if disclosed could cause harm to the parties). This information
26   retains independent economic value from not being generally known to, and not being readily
27   ascertainable through proper means to the general public. 18 U.S.C. § 1839(3)(B). If disclosed,
28   this information would cause Qualcomm and respective third parties competitive and commercial

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 1   harm because it would provide competitors and counterparties insights into Qualcomm or third

 2   parties’ business that they would not otherwise have, and could disadvantage Qualcomm and

 3   third parties in future negotiations with potential licensees and customers. See Nixon v. Warner

 4   Commc’ns., Inc., 435 U.S. 589, 598 (1978) (“[C]ourts have refused to permit their files to serve

 5   as … sources of business information that might harm a litigant’s competitive standing”); In re

 6   Elec. Arts, Inc., 298 Fed. App’x at 569–70.

 7                                             CONCLUSION
 8          Accordingly, to comply with the Protective Orders and for the foregoing reasons,

 9   Qualcomm respectfully moves this Court to seal the portions of the Trial Exhibits as described

10   above and in accordance with the proposed redactions filed as attachments to this Brief. As

11   mentioned above, filed concurrently herewith are declarations from Qualcomm in establishing the

12   basis for the confidential nature of the portions sought to be sealed.

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     Dated: January 6, 2019
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 1                                    FILER’S ATTESTATION
 2          I, Geoffrey T. Holtz, am the ECF user whose identification and password are being used
     to make this filing. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that the
 3   signatories of these documents have concurred in this filing.
 4                                                      /s/ Geoffrey T. Holtz
                                                         Geoffrey T. Holtz
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